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     In The United States Court of Federal Claims
                                        No. 09-242L

                                  (Filed: January 6, 2012)
                                        __________

  LOIS A. BURGESS, MARY VAN ELLEN
  and ADELINE M. JOHNSON, for themselves
  and as representatives of a class of similarly
  situated persons,

                              Plaintiffs,

                        v.

  THE UNITED STATES,

                              Defendant.


                                            __________

                                             ORDER
                                            __________

        Oral argument on the parties’ partial motion for summary judgment will be held in this
case on Wednesday, February 8, 2012, at 2:00 p.m. at the United States Court of Federal Claims,
National Courts Building, 717 Madison Place, N.W., Washington, D.C. 20005. The courtroom
location will be posted in the lobby on the day of the oral argument.

       IT IS SO ORDERED.



                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
